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                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                            AUSTIN DIVISION

United States of America.,              §
                                        §
      Plaintiff,                        §     NO: AU:23-CV-00853-DAE
vs.                                     §
                                        §
Greg Abbott, et al.                     §
                                        §
      Defendants.                       §

                   ORDER RESETTING MOTION HEARING
      It is hereby ORDERED that the in person hearing on Motion to Dismiss

for Failure to State a Claim (Dkt no. 62) is reset for Tuesday, March 19, 2024 at

09:30 AM before Senior U.S. District Judge David A. Ezra in Courtroom 2, on the

Fourth Floor of the United States Courthouse, 501 West Fifth Street, Austin, TX

       IT IS SO ORDERED.

       DATED: Austin, Texas March 15, 2024.




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                                            DAVID A. EZRA
                                            SENIOR U.S. DISTRICT JUDGE
